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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 TAMMY PASTOR,                                  §
                       Plaintiff,               §
 v.                                             §
                                                §         No. 1:21-CV-360-LY
 DAN WILLIAMS COMPANY, and                      §
 DAN WILLIAMS.,                                 §
                Defendants.                     §

                                    NOTICE AND REPORT

       This case was referred by United States District Judge Lee Yeakel to the undersigned for

mediation. Dkt. #15.

       On June 22, 2022, the Court and parties met at the U.S. Courthouse for the purpose of

mediation. The parties negotiated in good faith. As a result, the parties were able to reach a

confidential and mutually agreeable settlement of this matter.

       The parties expressed a willingness to formalize that settlement expeditiously, no later than

30 days from today’s date.




        SIGNED June 22, 2022.
                                                    _______________________________
                                                    MARK LANE
                                                    UNITED STATES MAGISTRATE JUDGE
